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 In the United States Court of Federal Claims
                                OFFICE OF SPECIAL MASTERS
                                        No. 20-936V


 IJEOMA CHUKWUDUM,                                      Chief Special Master Corcoran

                        Petitioner,
 v.                                                     Filed: February 12, 2021

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                       Respondent.


              SCHEDULING ORDER – PRE-ASSIGNMENT REVIEW (“PAR”)

       On November 13, 2020, Petitioner was ordered to file primary care medical
records for the three years prior to the vaccination at issue or, if these records were
already filed, to submit a status report identifying the primary care records by exhibit
and page number. After not submitting any additional medical records, Petitioner filed a
status report on December 22, 2020, indicating that she “has filed all outstanding
records and has no new treatments to report.”

        In her PAR Questionnaire, Petitioner identified some primary care providers but it
is not clear whether she has submitted their medical records: Dr. Sonya Caruthers of
Family Medicine Clinic at Crestwater (no date range) and Dr. John Nguyen (May 2015
to February 2018). Also, Petitioner identified other medical providers in her PAR
Questionnaire that may relate to Petitioner’s general health that she has not submitted
records from: Dr. Kelli Borroughs of Sweetwater Ob/Gyn (2015 to 2019), Advance
Dermatology (May 2016 to February 2018), and Avalon Healthcare Clinic (May 2018 to
May 2019). Petitioner shall file these outstanding records.

        THE FOLLOWING IS ORDERED: In order to complete the PAR process and
be assigned to a special master or the Special Processing Unit, Petitioner shall
file, by no later than Monday, March 29, 2021,

      •   Petitioner’s primary care records identified above from October 13, 2014, to the
          last date of service and the other relevant medical treatment records identified
          above. If these records have already been filed, petitioner shall file a status
          report identifying the exhibit(s) and page number(s). If no additional records
          exist, Petitioner shall file an affidavit, declaration or status report confirming that
          no additional records exist.
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   •   Statement of Completion and updated exhibit list.

       If Petitioner is unable to file the required records by that time, Petitioner
shall file any and all available records and move pursuant to Vaccine Rule 19(b)
for an enlargement of time to file any medical records or affidavits that remain
outstanding. Any such motion for enlargement shall state with specificity what
medical records or affidavits remain outstanding.

     Any questions about this order or about this case generally may be directed to
OSM staff attorneys, Andrew Schick, andrew_schick@cfc.uscourts.gov, and Francina
Segbefia, francina_segbefia@cfc.uscourts.gov.

IT IS SO ORDERED.

                                               s/Brian H. Corcoran
                                               Brian H. Corcoran
                                               Chief Special Master




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